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                                        PROOF OF SERVICE OF DOCUMENT
• I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 5801 SKYLAB ROAD
 HUNTINGTON BEACH, CA 92647
A true and correct copy of the foregoing document entitled: DEBTOR'S NOTICE OF MOTION AND MOTION TO AVOID
LIEN UNDER 11 U.S.C. § 522(f} (REAL PROPERTY) will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1 .. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 07/08/2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
 Jeffrey Golden (TR) lwerner@wgllp.com, jig@trustesolutions.net

 United States Trustee (SA} ustpregion16.sa.ecf@usdoj.gov
                                                                                      129   Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 07/08/2022       I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
Huntington Beach Gables Homeowners Association                                  Hon, Erithe A. Smith
230 Commerce Ste. 250                                                           United States Bankruptcy Court
Irvine, CA 92602                                                                411 West Fourth Street
                                                                                Santa Ana,
                                                                                Ca92701-4593
                                                                                     181 Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL. FACSIMILE TRANSMISSION OR EMAIL (state method
                                                                                                 7.8.22
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _____            , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

  Huntington Beach Gables Homeowners Association
  Michael Poole, Esq mpoole@cahoalaw.com
  Stanely Feldsott, Esq. feldsott@gmail.com
  Janine Jasso, Esq j9_jasso@yahoo.com
                                                                                      D     Service information continued on attached page



I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 07/08/2022         Robert Mclelland
 Date                          Printed Name                                                    Signature




         This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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